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*, U.S. Department of Justice
” Federal Bureau of Prisons

CHANGE NOTICE

OPI: CPD/CPB
NUMBER: 5410.01 CN-2
DATE: March 10, 2023

First Step Act of 2018 — Time Credits: Procedures for
Implementation of 18 U.S.C. § 3632(d)(4)

/s/
Approved: Colette S. Peters

Director, Federal Bureau of Prisons

This Change Notice (CN) implements the following changes to Program Statement 5410.01,
First Step Act of 2018 — Time Credits: Procedures for Implementation of 18 U.S.C.
§ 3632(d)(4), dated November 18, 2022.

The highlighted text has been changed (either added or struck through) in Section 10.
APPLICATION OF FTCs:

To apply FTCs to prerelease placement, an inmate ordinarily must otherwise be eligible to
participate in prerelease custody consistent with limitations as outlined in the Program Statement
Community Corrections Center (CCC) Utilization and Transfer Procedure; separate from
any FSA eligibility criteria, and be “opted in” at the time of the referral and be in minimum or
low risk status through their last two assessment periods and transfer to prerelease placement.
However, in all cases, earned time credits will be applied to prerelease custody (RRC and/or HC)
as required by the First Step Act.

The First Step Act requires that, if an individual meets the criteria outlined in (c)(1), the credits
must be applied when the amount of time credits earned is equivalent to remainder of the
prisoner’s imposed term of imprisonment, consistent with the method for calculation described
below. Pre-release placement in a Residential Reentry Center (RRC) or Home Confinement
(HC) will be based on FTCs other than those credits already applied to early transfer for
supervised release.
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Additionally, inmates with high or medium PATTERN recidivism risk levels must demonstrate a
good faith effort to lower their recidivism risk by:

m Maintaining clear conduct for at least three years from the date of the request.

mw Successfully completing at least one of the Bureau’s residential EBRR programs
recommended based on an identified need area within the past five years, if any have been
assigned.

w Is otherwise compliant with all the other requirements of this Program Statement with regard
to successful program participation.

Inmates may initiate a request under (c)(2) by submitting a BP-A0148, Inmate Request to Staff,
during their regularly scheduled Program Review. The Unit Manager will submit a request,
along with the unit team’s recommendation, to the Warden (or designee) for final decision.

For Minimum and Low PATTERN risk inmates, consistent with the methodology described in
Sections 6 and 7 of this policy, the Bureau will initially estimate an FSA conditional Projected
Release Date (PRD) by calculating the maximum number of potential FTC that an inmate may
earn during his or her sentence. The Bureau will make an initial projection based on the inmate’s
PATTERN risk level. (For inmates currently in custody as of the effective date of this policy, the
PATTERN risk level will be presumed to be the current level). This FSA PRD is subject to
change during the inmate’s incarceration, and it will be adjusted if the inmate’s PATTERN score
changes or if the inmate enters non-earning status.

FTC will not be applied towards an inmate’s release date unless earned. Medium and High

PATTERN risk inmates may earn FTC, but will not receive an estimated FSA PRD.
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RRC and/or HC referrals will ordinarily be submitted to the respective Residential Reentry
Management (RRM) office 12 months in advance of the inmate’s PRD or at least 60 days prior
to the projected RRC/HC placement date, whichever is greater. The RRC and/or HC
recommendation will include the total number of days recommended based on the Five Factor
Review (see 18 U.S.C. § 3621(b)), required under the Second Chance Act, plus the remaining
number of FTC days not applied to supervised release at the time of the referral. When
determining the FTC days available to be applied toward RRC/HC placement, the Bureau will
assume that the inmate will remain in earning status from the referral date until the transfer to
prerelease custody. There is no expectation the RRC/HC placement date will be modified once
the referral has been submitted to the RRM office.

Once an inmate has been transferred to prerelease custody pursuant to the procedures
outlined in this section, the inmate will maintain the recidivism risk level the inmate had at
the time of the transfer, unless the inmate benefits from a lower recidivism risk level based

PS5410.01 11/18/2022 Federal Regulations from 28 CFR: this type. Implementing instructions: this type. 16
